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 6

 7                                    UNITED STATES DISTRICT COURT

 8                                    EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                             No. 2:09-CR-00194-KJM

11                       Plaintiff,                        ORDER TO SEAL DOCUMENT

12           v.

13   MARCUS WILLIAMS,

14                       Defendant.

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16
             Pursuant to Local Rule 141(b) and based upon the representation contained in the
17
     Government’s Request to Seal, IT IS HEREBY ORDERED that the Defendant’s psychological
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     exam report sealed until further order of this Court. It is further ordered that access to the sealed
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     documents shall be limited to counsel for the parties.
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             The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District
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     Court for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons
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     stated in the Defendant’s request, sealing the psychological exam report serves a compelling interest.
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     The Court further finds that, in the absence of closure, the compelling interest identified by the
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     Defendant would be harmed. In light of the public filing of its request to seal, the Court further finds
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     that there are no additional alternatives to sealing the report that would adequately protect the
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     compelling interest identified by the Defendant.
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                                                           1
     Stipulation and Order to Continue Status Conference
       Case 2:09-cr-00194-KJM Document 129 Filed 12/13/16 Page 2 of 2


 1                                                  ORDER
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 3           IT IS SO ORDERED.
 4   Dated: December 12, 2016.
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                                                   UNITED STATES DISTRICT JUDGE
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     Stipulation and Order to Continue Status Conference
